                      UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

SHARON K. WHITEHEAD,                       )
Individually and as Executrix of the       )
Estate of James T. Whitehead,              )       Civil Action No. 1:18-CV-00091
Deceased,                                  )
                                           )     REPLY BRIEF IN SUPPORT OF
               Plaintiff,                  )     FISHER CONTROLS’ MOTION
                                           )      FOR SUMMARY JUDGMENT
       v.                                  )
                                           )
AIR & LIQUID SYSTEMS                       )
CORPORATION, et al,                        )
                                           )
               Defendants.                 )


       Defendant Fisher Controls International LLC (“Fisher”) respectfully submits

this reply brief in support of its motion for summary judgment.

                                       ARGUMENT

I.     THE SUBSTANTIVE                 LEGAL      STANDARD          ON      SUMMARY
       JUDGMENT.

       To survive summary judgment, an asbestos plaintiff must forecast evidence of

actual asbestos exposure linked to the moving defendant’s product.              Young v.

American Talc Co., 2018 WI 9801011, *2 (M.D.N.C. August 2, 2018). The plaintiff

must also demonstrate that the defendant-specific asbestos exposure occurred with

sufficient frequency, proximity and regularity to be considered causal, consistent with

Lohrmann v. Pittsburgh Corning Corp., 782 F.2d 1156 (4th Cir. 1986). Id. See also

Smith v. 3M Company, 2019 WL 1116718, at *3 (M.D.N.C., March 11, 2019).

       Plaintiff has failed to satisfy either requirement stated above. First, there is no

evidence any Fisher product at the Brewery had asbestos, or that Mr. Whitehead was

ever exposed to asbestos from a Fisher product.         Second, Plaintiff has not even


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addressed the frequency/proximity/regularity elements as to Fisher. A careful review

of the facts, together with consideration of the relevant case law, demonstrates that

Fisher’s motion should be granted.

II.     PLAINTIFF HAS FAILED TO FORECAST EVIDENCE SATISFYING
        THE SUBSTANTIVE SUMMARY JUDGMENT STANDARD.

        A. There is no Evidence of Actual Exposure.

        Plaintiff’s stated goal was to link Fisher to asbestos-containing gaskets,

packing and insulation at the Brewery (Dkt. 333, p. 1).         However, she relies

completely on facts concerning a particular type of valve - high temperature steam

valves - without evidence that any Fisher valve at the Brewery was such a valve.

Further, she ignores the facts that the Brewery had cold processes, and also used

valves that did not contain asbestos. In short, she does not offer evidence, direct or

indirect, from which a jury could draw proper inferences about Fisher products.

Rather, she would have the jury speculate on multiple levels before it could conclude

Whitehead was exposed to asbestos from Fisher products.

        Gaskets. Plaintiff cites evidence that Whitehead removed asbestos gaskets

from high temperature steam valves. (See, e.g. Dkt 333-3, 39:13-40:6). She also notes

he worked on two particular brands of high temperature steam valves – Fisher was not

one of those brands – and unknown other brands of such valves. (Id., 45:4-10). Even

her broadest statement about Whitehead’s valve work (Dkt 333, p. 3: “The valves

Whitehead worked on had asbestos gaskets and packing and were insulated with

asbestos.”) pertains to valves “operating at high temperatures”. (Dkt 333-3; 46:1-21).

Yet it is undisputed that in addition to high temperature applications, some valves

operated at low temperatures because the Brewery “had a lot of hot water lines, (and)

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had a lot of cold water lines.” (Id., 87:10-87:12). Plaintiff has submitted no evidence

that any Fisher valve at the Brewery was a high temperature valve.

         Moreover, Plaintiff has not disputed other relevant facts, which reveal the

additional levels of speculation a jury would have to engage in to reach her

conclusion. First, some valves at the Brewery had no gaskets. (Dkt. 333-4, 68:12-16).

Second, some valves did not have flanges (and thus had no flange gaskets), but were

screwed or threaded into lines. (Dkt. 333-4, 130:24-131:3, Dkt. 333-3, 95:15-20).

Third, the Brewery used non-asbestos gaskets as well as asbestos-containing ones.

(Dkt. 333-4, 149:11-16). Yet, Plaintiff has offered no evidence that the Fisher valves

at the Brewery had internal gaskets; or if they did, that they were asbestos-containing.

As to flange gaskets (which Fisher never supplied, and did not require to contain

asbestos for its valves to function), Plaintiff offers no proof that Fisher valves

connected to piping via flanges (versus being welding or threaded), or, even assuming

they were flanged, what gaskets the Brewery used to connect them.

         Given the facts above, that Mr. Whitehead may have worked on “all brands” of

valves1 is meaningless, since not all valves had gaskets (or packing or insulation, as

shown below). Likewise, the fact Mr. Draughn remembered Fisher by name does not

cure the gaps in Plaintiff’s argument; when asked about the four valve brands he

remembered (Fisher, Anchor, Gardner-Denver and Powell2), he could only say

“(m)aybe some of them was steam valves” and “some” were high temperature. (Id.,




1
  Testimony that Mr. Whitehead worked on all brands not only fails to address which valves at the Brewery had
asbestos components, but it says little about exactly what he did, since not all valves had to be overhauled [Dkt.
333-4, 70:21-71:6] and Plaintiff has not identified which ones were overhauled.
2
  Draughn testified there were numerous other valve brands whose names he could not recall. (Dkt 315-1, 99:13-
17).

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85:8-17). Mr. Draughn’s testimony does not address whether Whitehead worked on a

Fisher valve on a high temperature/steam line.

        Packing. Plaintiff also has established that the co-workers believe some high

temperature steam valves had asbestos packing. However, this testimony is not linked

to Fisher. Dorsett stated only that high temperature pumps and two specific brands of

valves (other than Fisher) utilized asbestos packing (Dkt. 333-3, 34:12-14, 46:17-21);

Draughn did not assert Fisher valves had packing (with or without asbestos) and did

not recall removing packing from Fisher valves. (Dkt 333-4, 86:10-13).                              To the

contrary, Draughn said not all valves had packing, and that only approximately 10%

of valves had packing that required work. (Dkt. 333-4, 74:11-14; 76:23-77:11; 85:22-

23). It is also undisputed that “(packing) was Teflon in quite a few valves.” (Dkt 333-

4, 131:25-132:1).3 There is no evidence Fisher valves at the Brewery had asbestos

packing or that Whitehead ever worked with packing in any Fisher valve.

        Insulation. Plaintiff argues that Whitehead removed insulation from some

valves4 generally and that asbestos-containing insulation was used in high-temperature

applications. However, it is undisputed that the Brewery had cold processes as well as

steam. Dorsett said non-asbestos forms of insulation were used at the Brewery,

including “foam glass, fiberglass” and “(m)ost of the cold stuff had foam glass on it”

(Dkt 333-3, 79:12-79:14). He added that whether a line was insulated at all depended

on the kind of line. (Id., 96:16-18). Draughn did not know what type of insulation was




3
 Fisher sold valves that had no packing and valves with non-asbestos containing Teflon packing. (Dkt. 315-3)
4
  There is no evidence all valves were insulated, and Mr. Draughn stated that valves themselves were usually
not insulated - only the piping going to and from valves that might be insulated. (Dkt. 315-1, 71:7-14; 122:4-
20).

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on cold applications. (Dkt 333-4, 58:16-19). Neither witness said Fisher valves were

insulated, nor identified whether they were used on hot or cold applications.

         Plaintiff misstates facts relating to insulation.                     First, with no supporting

citation, she states that “(n)on-asbestos insulation was not available until the early-to-

mid 1970s.” (Dkt. 333, p. 15). This misses the mark because Plaintiff has offered no

evidence that Whitehead was near any insulation work before the 1980s. Draughn

started working with him in the 1980s and offered no testimony about what

Whitehead did in his first stint at the Brewery in the early 1970s (Dkt. 333-4, 14:7-

11); Dorsett started at the Brewery in 1982. (Dkt. 333-3, 12:8-11). Plaintiff’s exhibits

only identify Mr. Whitehead as having done forklift work in the 1970s. (Dkt. 333-8, p.

6-11). Plaintiff’s assertion is also wrong: her own expert states that foam glass, the

same insulation Dorsett said the Brewery used, “never contained asbestos.” (Exhibit 5,

Ay Dep., 45:11). Second, she claims that “Fisher does not contend that its valves

could have functioned without insulation…”. (Dkt. 333, p. 15). Actually, Fisher’s

initial brief and evidence stated that “Fisher valves have never required insulation to

function properly.” (Dkt 315, p. 6; Dkt 315-3, ¶ 6.). Plaintiff has not disputed that

fact as required by LR 56.1(d) (opposing party must “point to specific, authenticated

facts existing in the record or set forth in accompanying affidavits that show a genuine

issue of material fact).5

         Plaintiff also has not disputed that Fisher had nothing to do with insulation,

asbestos-containing or not. (See Dkt 315-3, Ex. 3, ¶ 6). Thus, even if Plaintiff had


5
  Plaintiff asserts the United States Supreme Court has identified “situations that give rise to a conclusion that a
product required asbestos,” citing Air & Liquid Sys. Corp v. DeVries, 139 S.Ct. 986 (2019). (Dkt. 333, p 14).
Fisher respectfully submits that the quoted passage identifies when a legal duty may arise, and has nothing to do
with when a valve may need asbestos.

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proof that Whitehead was exposed to insulation on Fisher valves, it would be

irrelevant as a matter of law.

        Fisher cannot be held liable for a product made by another, where Whitehead’s

work occurred in the 1980s or later, after North Carolina adopted its products liability

statute; under N.C. Gen. Stat. § 99(b), the focus is on the product put in the stream of

commerce by the defendant. (See discussion at Dkt. 315, p. 8-9). Thus, it would be

inappropriate to rely on Air & Liquid Sys. Corp v. DeVries, 139 S.Ct. 986 (2019) as

Plaintiff advocates. Moreover, DeVries cited maritime law’s “special solicitude for

the welfare” of sailors, a consideration not present here. The best approach is that of

the Restatement (Third) of Torts: Prods. Liab. § 5 (1998). It limits a component

product manufacturer’s liability to harm caused by the manufacturer’s own product.

Restatement Comment a adds:

        As a general rule, component sellers should not be liable when the
        component itself is not defective as defined in this Chapter. If the
        component is not itself defective, it would be unjust and inefficient to
        impose liability solely on the ground that the manufacturer of the
        integrated product utilizes the component in a manner that renders the
        integrated product defective. Imposing liability would require the
        component seller to scrutinize another’s product which the
        component seller has no role in developing. This would require the
        component seller to develop sufficient sophistication to review the
        decisions of the business entity that is already charged with
        responsibility for the integrated product.

        Second, DeVries does not assist Woolard. DeVries imposed a duty where the

product required an asbestos-containing part. Id., at 995-6. Fisher valves did not

require asbestos-containing parts. (Duimstra Aff., ¶¶3-6)6.

        B. There is No Evidence of Frequency, Proximity or Regularity.

6
 The parties’ debate has also extended to the issue of replacement gaskets and packing. However, this issue is
moot, as Plaintiff has offered no evidence Fisher ever supplied replacement parts to the Brewery. An owner of a
Fisher valve could get replacement parts from sources other than Fisher (Dkt 315-3, ¶7).

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       The facts discussed above relate to whether Mr. Whitehead had “actual

exposure” to asbestos on account of Fisher. He did not. Moreover, Plaintiff has made

no attempt to establish the duration of Whitehead’s “exposure” to any Fisher valves

(i.e. any of the Lohrmann “frequency/proximity/regularity” factors), whether asbestos-

containing or not.

       First, there is no evidence quantifying the number of Fisher valves at the

Brewery in any way; Dorsett never mentioned Fisher and Draughn simply identified

Fisher as one of many brands of valve there. While a specific number may not be

essential, Plaintiff also has submitted no evidence as to whether Fisher valves were

prevalent or not, or what proportion of all valves Fisher accounted for, or even when

Fisher valves were installed at the Brewery. Additionally, Dorsett could not identify

how much Whitehead worked on any particular brand of valve, while Draughn

testified “there wasn’t much valve work to be done” and acknowledged he could not

even recall actually seeing Mr. Whitehead do valve work. (Dkt. 333-3, 47:10-25,

98:19-99:6; Dkt 333-4, 92:10-19; 71:25-72:2: 131:10-15).

       Further, the vast majority of what Plaintiff cites for purported valve “exposure”

is flange gasket work. (See, Dkt. 333-4, 68:6-16, Dkt. 333-3, 105:9-13; see also Dkt.

333-4,123:19-124:12 (80-90 percent of valve work simply replacing a valve); 154:7-

14 (employees did “more replacing valves than overhauling them.”)). Fisher did not

supply that product and its valves did not require asbestos-containing flange gaskets to

function properly. (Dkt. 315-3, ¶4).

       Plaintiff cites the reports of Edwin Holstein and Charles Ay and includes a

section heading stating “Plaintiff has presented evidence that Whitehead’s exposure to


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asbestos from Fisher’s asbestos-containing valves was a substantial factor in causing

his mesothelioma.” [Dkt 333, p. 15]. Not so! Holstein’s report mentions Fisher once

– noting only that Grady Draughn recalled Fisher valves at the Brewery (Dkt 333-5, p.

9) – while Ay did not mention Fisher at all. Their reports offer no opinions specific to

Fisher and the only causation opinion is expressed by Holstein, who asserts that

Whitehead’s illness was caused by cumulative asbestos exposure. However, the issue

here goes beyond whether Whitehead had an asbestos-related disease; it is whether

there is evidence he (1) had actual asbestos exposure from Fisher valves, and, if so, (2)

whether that Fisher-specific exposure was a substantial factor in causing his disease.

Neither Ay nor Holstein addressed these questions. There is no proof of “exposure to

asbestos from Fisher’s” products (to paraphrase Plaintiff) and no attempt by the

experts to address the Lohrmann factors as to any defendant.

         Plaintiff advocates a relaxed causation standard for mesothelioma cases. This

Court rejected this argument in Connor v. Norfolk Southern Railway Company, 2018

WL 6514842, *3, n. 5 (M.D.N.C. Dec. 11, 2018). Second, this contention has no

application as to the initial exposure threshold; North Carolina expressly requires

proof of actual exposure. See Young, supra, at *2.

         Precisely what Plaintiff claims is adequate proof of causation is unclear. At

page 11 of her brief she cites cases of “relatively brief” exposures satisfying

Lohrmann7. However, these cases do not assist Plaintiff because they all involved far

more substantial exposure than one can even speculate Whitehead experienced.

Perhaps the least exposure in any of these cases was in Tragarz v. Keene Corp., 980


7
  One case Plaintiff cites, Purcell v. Asbestos Corp., Ltd., 959 P. 2d 89 (Or. App. 1998) is inapplicable because
Oregon rejected Lohrmann in favor of a lesser standard of proof. Id., at 94.

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F.2d 411, (7th Cir. 1992) where “the record is also replete with evidence with regard

to the substantial amounts of dust that covered sheet metal workers, like Mr. Tragarz,

who worked alongside insulators and pipefitters who were cutting, gouging, and

installing asbestos insulation. All this indicates that whatever the frequency or

regularity of Mr. Tragarz's exposure to Kaylo products, these exposures were intense.”

       Plaintiff also claims Jones v. Owens-Corning Fiberglas Corp., 69 F.3d 712,

716 (4th Cir. 1995), Slaugher v. Southern Talc Co., 949 F.2d 167, 171 (5th Cir. 1991),

and Roehling v. National Gypsum Co. Gold Bond Building Prods., 786 F.2d 1225 (4th

Cir. 1986) support her position. The facts of those cases show otherwise; each rested

on proof of asbestos exposed tied to the specific defendant. In Jones, there was proof

the claimants “were exposed to (defendant’s product) on a regular basis for more than

20 years.” 69 F. 3d at 718. In Slaughter, a Fifth Circuit case, the plaintiff was allowed

to proceed against one defendant [OCF] because there was proof its product had

asbestos, was omnipresent in the worksite, and that plaintiff worked near it. 949 F. 2d

at 171-172. Summary judgment was affirmed for a second defendant, STC because

plaintiff could not show whether or not the specific product it provided to the worksite

contained asbestos – as is the case here as to Fisher. Id., at 170-1. In Roehling, there

was also proof, unlike our case, that plaintiff inhaled dust from the defendant’s

asbestos-containing product.

       Our case cannot be meaningfully distinguished from Young and Smith, supra,

Jandreau v. Alfa Laval U.S. Inc., 2012 WL 2913776 (E.D. Pa.) or Pace v. Air &

Liquid Sys. Corp., 642 F. App'x 244, 247 (4th Cir. 2016), all of which Fisher has

discussed here or in its initial brief. In each of those cases, summary judgment was


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granted, even where there was proof a claimant worked with the defendant’s product

in some instances, either because, as in our case, plaintiff failed to demonstrate that

the    particular     product   at   issue   had      asbestos   or   failed   to   satisfy   the

frequency/proximity/regularity factors.

        In summary, Plaintiff has no proof that Whitehead had actual asbestos exposure

on account of Fisher. Even if she had forecast such evidence, she cannot – and indeed

has not tried to - identify the frequency, duration and proximity of any work with

asbestos-containing Fisher valve components. Plaintiff must develop “evidence of

exposure to a specific product on a regular basis over some extended period of time in

proximity to where the plaintiff actually worked.” Pace supra 642 Fed. App’x at

247–48. Plaintiff “cannot create a genuine issue of material fact through mere

speculation or the building of one inference upon another.” Blackmon v. G.UB.MK

Constructors, 2016 WL 8674646, *2 (E.D.N.C. Nov. 11, 2016).                     Yet that is all

Plaintiff has in the end. Based on the record before the Court, Fisher’s motion should

be granted.

III.    PLAINTIFF’S CLAIMS ARE BARRED BY THE STATUTE OF
        REPOSE.

        Fisher’s initial brief addressed the sole argument Plaintiff offers as to the

statute of repose. Accordingly, Fisher renews that part of its motion but will not

further address it.

IV.     THERE ARE ADDITIONAL REASONS THE COURT SHOULD
        DISMISS SPECIFIC CLAIMS OF THE PLAINTIFFS.

        Fisher has articulated alternative reasons why certain claims of Plaintiff should

be dismissed. These alternative bases assume for the sake of argument that Plaintiff


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can prove Whitehead was exposed to asbestos from Fisher valves (a matter refuted

above) and require that Plaintiff come forward with proof that when Fisher sold any

asbestos containing product at issue, it knew or should have know the product was a

hazard (and, additionally as to punitive damages, that gaskets or packing would likely

cause harm but intentionally disregarded or was indifferent to that risk).

       In opposing Fisher’s arguments, Plaintiff has not provided evidence of what

Fisher knew about asbestos gaskets or packing when it sold any valve used at the

Brewery (and of course she has no proof any asbestos-containing Fisher valve was

there). Knowledge of the hazards of asbestos generally, in forms different than the

components Fisher sold, is not relevant. See, Lee v. CertainTeed Corp., 2015 WL

4526165, at *11 (E.D.N.C. July 27, 2015) (general knowledge that asbestos may have

been harmful under unspecified circumstances is not enough to show that (a

defendant) “knew the probable consequences, but was recklessly, wantonly or

intentionally indifferent to the results.”). Plaintiff has offered no proof about when

any Fisher valve was sold to the Brewery, what the components were made of.

Beyond this, Plaintiff simply provides general citations to articles without refences to

what in them is supposedly relevant. The only one specific to gaskets or packing is

Plaintiff’s exhibit 22, a 1965 article which mentions asbestos gaskets but provides no

criticism of them in particular. Fisher respectfully submits that if its motion is not

granted in its entirety, the Court should dismiss the second and fourth causes of action

for the reasons identified in its first brief.




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                                   CONCLUSION

       For the reasons set forth above, Fisher respectfully requests that the Court grant

its motion and dismiss Fisher.

       This the 29th day of April, 2020.

                                   WOMBLE BOND DICKINSON (US) LLP


                                   By:     /s/ M. Elizabeth O’Neill
                                           M. Elizabeth O’Neill
                                           NC State Bar No. 50338
                                           Kimberly Sullivan
                                           NC State Bar No. 23480
                                           301 S. College Street, Ste. 3500
                                           Charlotte, NC 28201
                                           Telephone: (704) 350-6310
                                           Telephone: (704) 444-2329
                                           Elizabeth.Oneill@wbd-us.com
                                           Kimberly.Sullivan@wbd-us.com
                                           WBD.SCASBESTOS@wbd-us.com

                                           Attorneys for Defendant Fisher Controls
                                           International, LLC




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                         CERTIFICATE OF WORD COUNT

       Pursuant to Local Rule 7.3(d), I hereby certify that, according to the word

count function of Microsoft Word 2010, this reply brief contains fewer than 3125

words. This includes the body of the reply brief, headings, and footnotes, excluding

case caption, any index, table of contents, table of authorities, signature block or

required certificates.

       Dated this 30th day of April, 2020.


                                   WOMBLE BOND DICKINSON (US) LLP


                                   By:       /s/ M. Elizabeth O’Neill
                                             M. Elizabeth O’Neill




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                            CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on this day, I electronically filed the

foregoing Reply Brief in Support of Motion for Summary Judgment of Defendant

Fisher Controls International LLC with the Clerk of the United States District Court

for the Middle District of North Carolina using the CM/ECF system which will send

notification of such filing to all counsel of record.

       Dated this 29th day of April, 2020.

                                    WOMBLE BOND DICKINSON (US) LLP


                                    By:      /s/ M. Elizabeth O’Neill
                                             M. Elizabeth O’Neill




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